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             EXHIBIT C
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     I, Chris Daniel, District Clerk of Harris
     County, Texas certify that this is a true and
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     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this June 19, 2018


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                                                                                                                                                        By: Bristalyn Daniels
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                                                                                        CAUSE NO. 2018-34589

                                                    BILL BOYDSTON,                                  §              IN THE DISTRICT COURT OF
                                                                                                    §
                                                                   Plaintiff,                       §
                                                                                                    §
                                                    v.                                              §
                                                                                                                       HARRIS COUNTY, TEXAS
                                                                                                    §
                                                    CHEVRON RETIREMENT PLAN AND                     §
                                                    CHEVRON CORPORATION,                            §
                                                                                                    §
                                                                   Defendants.                      §                165TH JUDICIAL DISTRICT



                                                             CHEVRON RETIREMENT PLAN AND CHEVRON CORPORATION’S
                                                                             ORIGINAL ANSWER

                                                    TO THE HONORABLE JUDGE OF THE COURT:

                                                           Defendants, Chevron Retirement Plan and Chevron Corporation (collectively, the

                                                    “Chevron Defendants”), by Counsel, hereby file this Original Answer, and in support show the

                                                    Court as follows:

                                                                                                I.
                                                                                          GENERAL DENIAL

                                                           Pursuant to Rule 92 of the Texas Rules of Civil Procedure, the Chevron Defendants

                                                    generally deny each and every allegation contained in Plaintiff Bill Boydston’s Original Petition

                                                    and demand strict proof thereof as required by the laws of this State.
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                                                                                                  II.
                                                                                               DEFENSES

                                                           The Chevron Defendants reserve the right to amend this answer to plead affirmative

                                                    defenses pursuant to Texas Rule of Civil Procedure 63.




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                                                                                                  PRAYER

                                                            WHEREFORE, PREMISES CONSIDERED, upon final trial hereof, Chevron Retirement

                                                    Plan and Chevron Corporation (the “Chevron Defendants”) respectfully request that the Court

                                                    enter a take nothing judgment as to all claims asserted by Plaintiff; that the Chevron Defendants

                                                    be awarded costs of Court and attorneys’ fees; and that the Court grant the Chevron Defendants

                                                    all further relief to which they are entitled at law or in equity.

                                                    Dated: June 22, 2018

                                                                            .                               Respectfully submitted,

                                                                                                            KING & SPALDING LLP


                                                                                                            /s/ Kayla Carrick
                                                                                                            Kayla Carrick
                                                                                                            State Bar No. 24087264
                                                                                                            1100 Louisiana, Suite 4000
                                                                                                            Houston, Texas 77002
                                                                                                            (713) 751-3254
                                                                                                            (713) 751-3290 – Fax
                                                                                                            kcarrick@kslaw.com

                                                                                                            Attorney for Defendants
                                                                                                            Chevron Retirement Plan and
                                                                                                            Chevron Corporation
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                                                                                                       2
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                                                                                    CERTIFICATE OF SERVICE

                                                           This is to certify that on this 22nd day of June, 2018, I electronically filed a true and

                                                    correct copy of the foregoing with the Clerk of the Court and served same by depositing a copy

                                                    into the U.S. Mail with appropriate postage affixed to the following:

                                                    Craig R. Keener
                                                    1005 Heights Boulevard
                                                    Houston, Texas 77008
                                                    CRKeener@aol.com

                                                    Attorney for Plaintiff Bill Boydston



                                                                                                         /s/ Kayla Carrick
                                                                                                         Kayla Carrick
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                                                                                                    3
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     County, Texas certify that this is a true and
     correct copy of the original record filed and or
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     copy, as it appears on this date.
     Witness my official hand and seal of office
     this June 25, 2018


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